Case 2:04-CV-02395-BBD-tmp Document 85 Filed 09/02/05 Page 1 of 4 Page|D 124

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 SEP ...2
WESTERN DIVISION

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OLEN M. BAILEY, JR., Individually
TERESA W. BAILEY, Individually; THE
BAILEY LAW FIRl\/I, A Professional
Corporation,

Plaintiffs,
VS.

DECK - White Station Tower, LLC;
DECK - White Station Manager, LLC;
KAUFMAN PROPERTIES, INC.;
KAUFMAN REALTY GROUP, LLC;
TRAMMEL CROW COMPANY, P.C.,
INC.; SANITORS, lNC.; and
JOHN/JANE

DOES, lndividually

Defendants and Third-Party Plaintiff
VS.
D.L. SCHMITZ WATERPROOFING &
RESTORATION COMPANY, INC., and
KERMIT B. BUCK & SON, INC.,
Third-Party Defenda.nts.,

Defendants.

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NO. 04-2395 DP

 

ORDER GRANTING AN ENLARGMENT OF TIME FOR DEFENDANTS TO
RESPOND TO SANITORS’ MOTION FOR SUMMARY JUDGMENT

 

On September 1, 2005, Defendants DECK-White Station Tower, LLC, DECK-White

Station Manager, LLC, Kaufman Properties, Inc. and Kaufman Realty Group, LLC, filed a

motion for enlargement of time within which Defendants m

Thts document entered on the doeer
with Huie 58 and/or 79(a`; FRCP on

ay respond to the May 13, 2005

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Case 2'04-CV-02395-BBD-tmp Document 85 Filed 09/02/05 Page 2 of 4 Page|D 125

motion of defendant, Sanitors, lnc. for summary judgmentl On consideration of the motion and

the memorandum supporting the motion, the Court is of the opinion that the motion for an

enlargement of time is well taken and should be granted Therefore, it is

ORDERED, ADJUDGED AND DECREED that Plaintifi`s are permitted to respond to

the May 13, 2005 motion of Sanitors, Inc. fur summary judgment at any time on or before

September 12, 2005.
ENTERED this Z¢é day of September, 2005 .

 

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 85 in
case 2:04-CV-02395 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Case 2:04-cV-O2395-BBD-tmp Document 85 Filed 09/02/05 Page 4 of 4 Page|D 127

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Honorable Bernice Donald
US DISTRICT COURT

